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1    DAVID J. COHEN, ESQ.
     California Bar No. 145748
2
     ALEXANDER P. GUILMARTIN, ESQ.
3    California Bar No. 306787
     BAY AREA CRIMINAL LAWYERS, PC
4    300 Montgomery Street, Suite 660
     San Francisco, CA 94104
5
     Telephone: (415) 398-3900
6
     Attorneys for Defendant Cole Evan White
7
                                     UNITED STATES DISTRICT COURT
8

9                                  NORTHERN DISTRICT OF CALIFORNIA

10                                            OAKLAND DIVISION
11
     UNITED STATES OF AMERICA,                                Case No. 4:18-mj-71386-MAG
12
                      Plaintiff,                              EXHIBIT TO MR. WHITE’S BRIEF ON
13                                                            18 U.S.C. §3141 ET SEQ. AND
     v.                                                       DETENTION HEARINGS
14

15   COLE EVAN WHITE,                                         Date: October 10, 2018
                                                              Time: 9:30 a.m.
16                    Defendant.                              Ctrm.: 4
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     Exhibit to Mr. White’s Brief on 18 U.S.C. §3141 et seq. and Detention Hearings
     U.S. v. White;
     Case No. 4:18-mj-71386-MAG
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